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                                                                              Signed by Judge Louise DeCarl Adler July 3, 2018
         Case 15-05422-LA7               Filed 07/03/18         Entered 07/05/18 21:19:29                 Doc 98       Pg. 3 of 3

                                              United States Bankruptcy Court
                                             Southern District of California
In re:                                                                                                     Case No. 15-05422-LA
Coast Medical Center, Inc.                                                                                 Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0974-3                  User: Admin.                       Page 1 of 1                          Date Rcvd: Jul 03, 2018
                                      Form ID: pdfO1                     Total Noticed: 2


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 05, 2018.
db            #+Coast Medical Center, Inc.,   227 N. El Camino Real #100,   Encinitas, CA 92024-5821
cr             +Denise Dominguez,   706 E. Ohio Ave.,   Escondido, CA 92025-3419

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 05, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 3, 2018 at the address(es) listed below:
              Christin A. Batt    on behalf of Trustee Leslie T. Gladstone christinb@flgsd.com,
               sandray@flgsd.com;candic@flgsd.com;leslieg@flgsd.com;andrewg@flgsd.com
              Christin A. Batt    on behalf of Plaintiffs Leslie T. Gladstone christinb@flgsd.com,
               sandray@flgsd.com;candic@flgsd.com;leslieg@flgsd.com;andrewg@flgsd.com
              David S. Greenberg    on behalf of Debtor   Coast Medical Center, Inc. dsgtaxlaw@gmail.com,
               r61085@notify.bestcase.com
              David S. Greenberg    on behalf of Defendant Linette Williamson dsgtaxlaw@gmail.com,
               r61085@notify.bestcase.com
              Laurie Cayton    on behalf of United States Trustee    United States Trustee
               laurie.cayton@usdoj.gov
              Leslie T. Gladstone    candic@flgsd.com,
               candic@flgsd.com;christinb@flgsd.com;sandray@flgsd.com;ltg@trustesolutions.net;andrewg@flgsd.com
              Leslie T. Gladstone    on behalf of Trustee Leslie T. Gladstone candic@flgsd.com,
               candic@flgsd.com;christinb@flgsd.com;sandray@flgsd.com;ltg@trustesolutions.net;andrewg@flgsd.com
              Mary Testerman Duvoisin    on behalf of United States Trustee   United States Trustee
               USTP.region15@usdoj.gov;tiffany.l.carroll@usdoj.gov
              United States Trustee    ustp.region15@usdoj.gov
                                                                                             TOTAL: 9
